Case 4:20-cv-00957-SDJ Document 483-2 Filed 05/12/24 Page 1 of 1 PageID #: 15907




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

          Plaintiffs,

  v.                                                Civil Action No. 4:20-cv-00957-SDJ

  GOOGLE LLC,

          Defendant.


       [PROPOSED] ORDER DENYING GOOGLE’S OBJECTIONS TO REPORT AND
                      RECOMMENDATION (ECF NO. 423)

         This Court, having considered Plaintiff States’ Objection to the Special Master’s Report

 and Recommendation (ECF No. 470), filed on May 11, 2024, hereby finds that the Objection

 should be SUSTAINED.

         IT IS SO ORDERED.




                                                1
